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                   ORAL ARGUMENT NOT YET SCHEDULED

                 IN THE UNITED STATES COURT OF APPEALS
                 FOR THE DISTRICT OF COLUMBIA CIRCUIT


 THE ETHYLENE OXIDE
 STERILIZATION ASSOCIATION, INC.,

                 Petitioner,

            v.
                                                   Case No. 24-1180
 ENVIRONMENTAL PROTECTION                          (consolidated with 24-1178)
 AGENCY AND MICHAEL S. REGAN,
 ADMINISTRATOR, U.S.
 ENVIRONMENTAL PROTECTION
 AGENCY,

                 Respondents,


   RESPONDENTS’ OPPOSITION TO THE AMERICAN PETROLEUM
        INSTITUTE’S MOTION FOR LEAVE TO INTERVENE

       The Court should deny American Petroleum Institute’s (“Petroleum

Institute”) Motion For Leave to Intervene (“Motion”) as a petitioner because the

Petroleum Institute’s motion does not establish standing to challenge a rule about

commercial sterilizers and because existing parties can adequately represent its

interest.

                                     BACKGROUND

       On April 5, 2024, EPA’s final rule titled, “National Emission Standards for

Hazardous Air Pollutants: Ethylene Oxide Emissions Standards for Sterilization
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Facilities Residual Risk and Technology Review,” 89 Fed. Reg. 24090 (“Final

Rule”), was published in the Federal Register, setting new emissions standards for

ethylene oxide emitted by commercial sterilization facilities and making other

changes to the standards applicable to these sources. As part of that Final Rule,

EPA conducted a risk review of ethylene oxide emissions from those facilities to

ensure that emission standards adequately protect public health. Id.; 42 U.S.C. §

7412(f)(2).

      EPA had completed a risk review of the same source category in 2006. 71

Fed. Reg. 17712 (Apr. 7, 2006). But since then, new information about ethylene

oxide has become available. 89 Fed. Reg. at 24091. For example, the cancer risk

from inhalation of ethylene oxide is now estimated to be 60 times greater than EPA

estimated during the 2006 risk review. Id. at 24094. So EPA conducted the second

risk review in the Final Rule to ensure that its analysis is up to date. EPA’s second

risk review informed some of the new emission standards set for ethylene oxide

emissions from commercial sterilizers. Id. at 24098-99 (Table 6 shows what new

emission standards were established under 42 U.S.C. § 7412(f)(2)).

      On June 4, 2024, the Ethylene Oxide Sterilization Association, Inc.,

(“Sterilization Association”) petitioned this Court to review EPA’s Final Rule.

Doc. #2057972. In its statement of issues filed on July 3, the Sterilization

Association revealed that it seeks to challenge EPA’s statutory authority under the


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Clean Air Act – specifically 42 U.S.C. § 7412(f)(2) – to conduct a second risk

review. Doc. #2062992 at 1-2 (issue no. 1).

      On July 5, 2024, well after the statutory deadline to seek review of the rule,

the Petroleum Institute moved to intervene as a petitioner. Doc. # 2063232.

                                     ARGUMENT

I.    The Petroleum Institute Lacks Standing.

      A party seeking intervention in this Court must demonstrate standing. Defs.

of Wildlife v. Perciasepe, 714 F.3d 1317, 1323 (D.C. Cir. 2013) (“We also require

a party seeking to intervene as of right to demonstrate Article III standing.”); Old

Dominion Elec. Coop. v. FERC, 892 F.3d 1223, 1232 (D.C. Cir. 2018)

(“Intervenors become full-blown parties to litigation, and so all would-be

intervenors must demonstrate Article III standing.”).1

      The Petroleum Institute is a trade association that does not assert an

organizational interest in this litigation; thus, it only has standing if at least one

member has standing. Grocery Mfrs. Ass’n v. E.P.A., 693 F.3d 169, 174 (D.C. Cir.

2012). The Petroleum Institute must show that its member has suffered an “injury



1 In Virginia House of Delegates v. Bethune-Hill, on which the Petroleum Institute
relies (Motion at 6 n.1) to argue that it need not show standing, the Supreme Court
explained that no showing of standing had been required of “an intervenor in
support of … Defendants” who only “participated as an appellee” in this Court.
587 U.S. 658, 663 (2019). By contrast, the Petroleum Institute “seek[s] to invoke
this Court’s jurisdiction” by participating in this case as a petitioner. Id.
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in fact,” and that injury must be “actual or imminent, not conjectural or

hypothetical.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992). The injury

must also be fairly traceable to the rule and redressable by its vacatur. Id.

      The Petroleum Institute fails to demonstrate that any of its members have

suffered an injury in fact. As a threshold matter, the Petroleum Institute admits that

none of its members are regulated by EPA’s Final Rule. Motion at 4. As a result,

“standing is not precluded, but it is ordinarily substantially more difficult to

establish.” Lujan, 504 U.S. at 562; Food & Drug Admin. v. All. for Hippocratic

Med., 602 U.S. 367, 382 (2024); cf. City of Cleveland, Ohio v. Nuclear Regul.

Comm’n, 17 F.3d 1515, 1516-17 (D.C. Cir. 1994) (denying intervention for lack of

standing because party is not regulated by challenged rulemaking).

      In trying to establish standing, the Petroleum Institute can only hypothesize

about what other actions EPA could take in the future. The chain of conjecture

goes like this: the Petroleum Institute does not want EPA to conduct risk reviews a

second time on petroleum-related standards not at issue in this case. Motion at 4.

So if EPA were to prevail in its decision to conduct a second residual risk review

here, then EPA might someday conduct a second risk review for emission

standards applicable to the Petroleum Institute’s members, and that second risk

review might, in turn, result in tighter standards. Motion at 9. In other words, the

Petroleum Institute seeks to intervene because this Court’s decision on a legal issue


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could have a precedential effect on EPA’s future, hypothetical decision to conduct

a second risk review that might or might not impose stricter emission standards.2

      The Petroleum Institute’s theory of injury is too speculative and causation is

too attenuated to be considered “a concrete and particularized, actual or imminent

invasion of a legally protected interest.” Lujan, 504 U.S. at 560; see also Food &

Drug Admin., 602 U.S. at 383 (“The causation requirement also rules out

attenuated links—that is, where the government action is so far removed from its

distant (even if predictable) ripple effects that the plaintiffs cannot establish Article

III standing.”).

      This Court has consistently denied intervention for parties positing similar

theories of standing. See, e.g., Nuclear Regul. Comm’n, 17 F.3d at 1515-16

(petitioner’s “concern about the precedential effect of an adverse decision is not


2 Although the Petroleum Institute says it “would” face increased regulatory
burdens or “would” face new rounds of rulemaking, Motion at 9, it provides no
support for its speculation about future events. EPA has not stated an intention to
conduct a second risk review for any emission standards applicable to the
Petroleum Institute’s members. Furthermore, a risk review does not always result
in stricter emission standards. See, e.g., 86 Fed. Reg. 64385, 64389 (Nov. 18,
2021) (“[B]ased on the risk review conducted pursuant to CAA section 112(f),”
EPA determined that the existing standards for Flexible Polyurethane Foam
Fabrication Operations already “provide an ample margin of safety to protect
public health” and thus finalized “no changes” to the existing standard). So even if
EPA had stated an intention to conduct a second risk review, the Petroleum
Institute’s concerns would still be speculative and unripe. Cf. La. Envtl. Action
Network v. Browner, 87 F.3d 1379, 1385 (D.C. Cir. 1996) (dismissing petition for
review because trade association had not shown that the event necessary for its
claim to ripen had occurred).
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sufficient to confer standing” and thus “we deny the motion for leave to

intervene”); Conf. Grp., LLC v. FCC, 720 F.3d 957, 959 (D.C. Cir. 2013) (“[T]he

mere fact that an adjudication creates a precedent that could harm a non-party does

not create the injury-in-fact required for Article III standing.”); Shipbuilders

Council of Am. v. United States, 868 F.2d 452, 456 (D.C. Cir. 1989) (“[W]e know

of no authority recognizing that the mere potential precedential effect of an agency

action affords a bystander to that action a basis for complaint.”).

       Indeed, just a few years ago, this Court denied intervention for another

industry trade association (National Rural Electric Cooperative Association) that

sought to intervene in a case challenging a Clean Air Act regulation that did not

regulate the association’s members, raising the same issue and alleging comparable

injuries to those put forward by the Petroleum Institute. See Order, Nat’l Waste &

Recycling Ass’n v. EPA, No. 16-1371, Doc. #1813101 (D.C. Cir., Oct. 29, 2019).

The Court held that the trade association lacked standing because it was not

regulated by the rule, and the possibility that a case might create an adverse

precedent for the trade association in the future does not amount to an injury-in-

fact. Id. at 2.

       Because the Petroleum Institute’s interest in this case is purely academic and

none of its members have suffered an injury in fact, this Court should deny the

Motion. If the Petroleum Institute believes additional briefing is needed, it can file


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an amicus brief consistent with this Court’s rules. See id. (denying intervention but

granting leave to participate as amicus curiae).

II.   Existing Parties Can Adequately Represent the Petroleum Institute’s
      Interests.

      While the burden of establishing inadequate representation in a motion for

intervention is not onerous, intervention will be denied when the intervening party

only seeks to raise an issue already raised by another party. BCP Trading & Invs.,

LLC v. Comm’r of Internal Revenue, 991 F.3d 1253, 1273 (D.C. Cir. 2021)

(denying intervention because the issue raised by proposed intervenor was already

raised by existing parties and thus duplicative); see also United States v. All Assets

Held at Credit Suisse (Guernsey) Ltd., 45 F.4th 426, 432 (D.C. Cir. 2022) (“A

would-be intervenor is adequately represented when she offers no argument not

also pressed by an existing party.”) (citing Bldg. & Const. Trades Dep’t, AFL-CIO

v. Reich, 40 F.3d 1275, 1282 (D.C. Cir. 1994)) (cleaned up).

      Here, the Petroleum Institute’s sole interest is to challenge EPA’s statutory

authority under 42 U.S.C. § 7412(f)(2) to conduct a second risk review. Motion at

4. Petitioner Sterilization Association raised that exact same issue in its statement

of issues, identified as issue number one. Doc. #2062992 at 1-2. The Petroleum

Institute’s unfounded speculation that Petitioner Sterilization Association might

not “present a full range of arguments in litigation or may ultimately decide to

abandon this issue altogether,” Motion at 11, does not amount to a showing that

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“there is a serious possibility that the (absentee’s) interest may not be adequately

represented by any existing party.” United States v. Am. Tel. & Tel. Co., 642 F.2d

1285, 1293 (D.C. Cir. 1980). As a private trade association like the Petroleum

Institute, Petitioner Sterilization Association has every reason to fully litigate the

issue, especially because its members (unlike those of the Petroleum Institute) are

actually facing new regulations based on the challenged risk review.

      Because Petitioner Sterilization Association plans to raise the same statutory

interpretation issue that the Petroleum Institute identifies as the sole basis for its

intervention, the Petroleum Institute’s asserted interests in this litigation are

adequately represented. BCP Trading & Invs., 991 F.3d at 1273; All Assets Held at

Credit Suisse (Guernsey) Ltd., 45 F.4th at 432. This Court has the expertise to

resolve the statutory interpretation issue raised by Petitioner Sterilization

Association, and the Petroleum Institute has no unique expertise or perspective that

warrants its participation as a party.

                                   CONCLUSION

      The Court should deny the Petroleum Institute’s Motion to Intervene.

Dated: July 12, 2024                     Respectfully submitted,

                                         TODD KIM
                                         Assistant Attorney General
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                                          /s/ Jeffrey Hammons
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                                      /s/ Jeffrey Hammons
                                      JEFFREY HAMMONS




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      I hereby certify that on July 12, 2024, I electronically filed this document

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                                       JEFFREY HAMMONS




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